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BOB SMITH,

PRESIDENT,

RILA

BEFORE THE SENATE ENVIRONMENT AND PUBLIC WORKS COMMITTEE
RE: THE RHODE ISLAND OIL SPILL AND

IMPLEMENTATION OF THE OPA 90

BODY:

Mr. Chairman and Members of the Committee:

Good morning. The Rhode Island Lobstermen's Association

thanks you conducting this hearing, inviting us to testify, and for demonstrating your concern over how small
businesses and

individuals are faring after the devastating oil spill off Point Judith, Rhode Island, on January 19, 1996.
Today's testimony is presented by Bob Smith, who has been a lobsterman in and around Point Judith for 49
years and is privilegedto be President of the Rhode Island Lobstermen's Association

(RILA), and by Barry M. Hartman, with the law firm of Kirkpatrick

& Lockhart in Washington, and Counsel to RILA. Our association

and over 100 businesses damaged by the spill have retained Mr.

Hartman and his firm to make sure that our rights are protected and

that we are properly compensated for our losses. Mr. Hartman

served as Acting Assistant Attorney General for the Environment and

Natural Resources Division at the United States Department of Justice

during the Bush Administration, and is experienced in the legal

consequences of oil spills, having prosecuted the Exxon Valdez case, and having participated in enforcement
efforts in a number of other

spills. He also was the Justice Department's representative in connection with the development of the Oil
Pollution Act, which

President Bush signed in 1990.Senator Chafee, you in particular have been quite helpful to us. and we know
the personal anguish you must be going through after this spill, which occurred not only in our places of
business, but in both of our back yards.

For years you have been a champion for the environment. We know how important this issue is to you. You
have spent a great deal of time at the site of the spill and we just want to take this opportunity to personally
thank you for your countless hours of attention to this tragic and important issue. You certainly have been a
good friend to Rhode Island's fishermen. And now, in your position as Chairman of the Committee on

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Environment and Public Works, we are confident you will again take the lead in breaking through the
bureaucracy of the Federal Government to see that Rhode Island's fishermen are compensated for their losses
as guaranteed under the law.RILA believes that it is both necessary and appropriate that the

Committee not only consider, but propose, certain changes in the Oil Pollution Act, so that issues that exist
today with respect to the

damage compensation system, are not repeated the next time there is

an oil spill.

The problems we are outlining have been discovered through

actual experience, and might not have been anticipated when this law

was considered. By convening this hearing, you demonstrate your

commitment that we all learn from our experience. Our concerns may be summarized as follows. We are
pleased

that OPA exists, however:

(1) it is being used by the barge owner's insurer to pay off claims at minimal rates and to effectively
discourage claimants from seeking legitimate, long-term claims for damages;(2) the barge owner's insurer,
under the guise of OPA, is demanding inappropriate releases from claimants, does not explain what is being
demanded, and instead waves a few dollars im front of people to force them to agree to limitations on their
rights;

(3) claimants are not being allowed meaningful participation in the Natural Resource Damage Assessment
process even though it could directly affect their rights; and

(4) it appears that the barge owner's insurer and the Coast Guard are setting up road blocks that prevent
claimants from obtaining full recovery for their losses.

Our testimony today will describe our Association, discuss how

we have fared since the spill, and outline some of the problems and

suggestions for improvement of OPA.

The Rhode Island Lobstermen's Association (RILA) is a non-

profit association of people who are engaged primarily in the business

of fishing for lobsters. We have almost 100 members, and our

businesses represents a large portion of the lobstering industry off

Point Judith, Rhode Island.Through the association, we have put together a group of over 100 businesses that
are jointly developing their damage claims. These are not only lobster boat owners, but on- shore processing
facilities, and other businesses that are part of the fishing industry in the Port of

Galilee,

As you know, Point Judith is the third largest fishing port on the

East Coast. Until January 19, 1996, we were proud to say that our lobsters are world renowned for their
quality o in fact - we think they

were the best quality lobsters caught in this country. In fact the

fishing industry has contributed greatly to the local and statewide

economy. Millions of dollars have been pumped back into the

economy by way of direct and indirect business resulting from the

successful harvesting of Rhode Island's pristine seafood beds. Many lobstermen have been fishing in this area
for years. In

Bob Smith's case, his father started over a half century ago, and he

has continued in his father's wake. Lobstermen are mostly small

businesses - each owns a boat or two and each hires a couple of

crewmen to help. They love what we do. They are independent,

self-sufficient and our own bosses. They are successful because of

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their willingness to put in an honest day's hard work.
On J anuary 19, 1996 the unthinkable happened- a barge spilled over 800,000 gallons of home heating oil after
running aground off of Moonstone Beach.

The place where Bob Smith has been catching lobsters was directly under the barge and the spill.

We say this was unthinkable, since no one expected it to happen at all. But here is what made it even more
shocking. We are sure you remember the World Prodigy spill of 1989, in Narragansett Bay,which is just a few
miles from Point Judith. None of us thought this could ever happen again, at least not in our neighborhood.
But it did. It's sort of like witnessing a horrible accident. Most of us never see one. But to be witness to two
just outside our window is simply not something anyone expects.

We are not here today to talk about whose fault this was, or

how efficient and effective the response to the spill was, although quite frankly, the response teams basically
shut out local efforts to help the cleanup. Our interest is simple: we want to get back to

work, and we want to make sure we are compensated for the losses

that we have suffered, are suffering, and sadly, are likely to suffer in

the future because of this spill.

The immediate impacts of this spill were incredible. Bob Smith walked on the beach where it happened, and
saw literally hundreds ofthousands of dead lobsters. Most were small - 2,3, or 4 years old. They were
everywhere. At one point in a three square- foot area. he counted 730 dead lobsters. Some observers say that
there were over a million lobsters killed.

As a result of the spill, a 250 square-mile area has been closed off to fishing and lobstering since January 19.
That included the entire area leading into the Port of Galilee, where many seafood processors are located. A
map illustrating the closed-off area is provided as Attachment A to this testimony.

Not only could we not catch lobsters in a prime area, but most shellfish catches upon which many on-shore
facilities rely could not be brought into Point Judith to be sold. The buyers, processors, wholesalers and others
were shut down because they use the waters that were closed down to supply feed tanks used to hold the
lobsters.And the businesses that serve the industry - divers, electricians, plumbers, restaurants, operators,
suppliers, and repairmen, were in turn shut down. In short, Point Judith, which is usually a hub of

business activity, was turned into a ghost town.

Fortunately, fishing areas are gradually being reopened. Fin

fishing is now allowed in all areas. The shoreside facilities may

again use the water of Point Judith Pond to handle the delivered

catches. A very limited amount of lobster fishing is allowed off of

Newport. But the main area off Point Judith remains closed.

Please understand, we are not necessarily criticizing the decision

to keep the area closed. We, like everyone, want to make sure that

when it is opened, the lobsters are safe for eating Sooner or later we expect lobster fishing to be permitted
again. But what about long term effects? The hundreds of thousands of

lobsters that were washed up dead on the beach were young - 1, 2, 3,

and 4 years old. We are not permitted to catch lobsters until they

reach their legal size, which occurs around age 7. That means these

million or more dead lobsters will not be available to be caught in

1999, 2000, and 200 1, or 2002.

In addition, many of the dead lobsters were or would have been egg bearing. It could be eight to ten years
from the time a lobster bears eggs until those eggs hatch and grow to the legal size permitted to be caught. So
there are more years in the future when we will be impacted.

Further, the death of younger female lobsters, which will never reproduce, will reduce populations generally,

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which is very likely toimpact lobstering in the future. And, that's where the real economic impact will be felt
by future generations of Rhode Islanders. Unfortunately, we still do not know just how severe the damage has
been because of the immense devastation of the egg bearing lobsters.

And we can't just go somewhere else to fish, for a couple of

reasons. First, in this area, most of the legal size population of

lobsters are caught every year. The pie is only so big and now it is

smaller. That is true even outside the closed area, So to move

elsewhere wouid not eliminate our losses, it would just spread them

around.

Second, many of us can't just go somewhere else. Fishing in

different and deeper waters requires different boats, additional and

more expensive equipment, is much costlier i terms of fuel and insurance, and involves more significant
risks. Many lobstermencan't afford it, or don't want to put themselves at greater personal risk, even if it might
mean a greater price for our catch. We are just plain shut down, with no alternatives.

As you consider this issue, remember that there are three very distinct types of harms that we are suffering:
(1) actual damage to our property caused by the spill; (2) actual losses we suffer because we cannot engage in
our livelihood today; and (3) losses we are likely to suffer in the future because of the long term impact that
this spill is likely to have on the lobster population. All three types of damages are supposed to be fully
compensated under OPA. Unfortunately, problems exist with compensation for all three.

Now to the question at hand: is the Oil Pollution Act helping us get compensated for our losses? Yes and no.
On the one hand, it might be better than what would be the case if there were no law.On the other, there are
problems - serious problems - that you need to

know about. Some you may be able to address. Others may be

unavoidable because of the attitude that the barge owner and its

insurer take. In some respects the law could result in damaged

parties getting less than what they would be entitled to if they simply

went to court.

The Insurer Has Been Making Unreasonable Demands as a Condition of Making Interim Payments

First, it must be understood that just because the law creates

liability for the responsible party, it does not necessarily follow that

Eklof Marine or its insurer is willing to accept that responsibility. Here is the attitude that the insurer has, as
reflected in a statement

apparently made by one of its adjusters: "They charge you for every little dinky lobster and the fish that could
have eaten them."The Providence Sunday Journal, March 24, 1996.

With due respect, anyone who knows about the lobster industry knows that every so-called "dinky" lobster
that we are allowed to

catch puts food on our tables. To trivialize our claims in this way demonstrates the insensitivity of the insurer
for our plight.

The insurer's insensitive attitude is also shown by how it has treated claims. When this first happened, and
claims started being filed, the insurer tried to use the claims payment process to minimize what it had to pay
not only now, but in the future. For example, one person who allowed his boat to be used in the clean up was
required to sign a release of all claims he might ever have as a result of the spill. A copy of that release is
attached to this testimony as Attachment B.Others were required to sign releases that contained technical
legal language limiting their rights, but which was not explained to them at all. The claims adjuster's answer?
"We're not your lawyer.” A copy of this language that is being forced on us is provided as Attachment C.

In other instances, the claims examiners may have actually suggested to claimants that they are on our side.
Nothing could be farther from the truth. Their duty is to the insurer, to pay only what they think they

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absolutely must pay. To suggest to claimants that they are on the claimant's side is incorrect, and failing to
make their positions clear to people having no experience in this process is disingenuous at best.

Regarding actual damages suffered by us, consider the following. Many of our members lost equipment such
as lobster pots,because they were in the area where the spill occurred, and for weeks

we could not remove them. The insurer is willing to pay something

for these, and that something is generally the insurer's depreciated

value of the pot, not its really value - or cost - to us.

For example, assume a pot is 5 years old, and according to the insurer it has a life of 8 to 10 years. A new pot
costs $40.00 to $55.00. The insurer offers $15.00 per pot. That means if a lobsterman lost 500 pots, he gets
$7,500 to cover an actual replacement cost to him of $20,000.

In the real world, lobstermen not only cannot afford to replace

pots every 5 years, but using their own skiil and time, often repair

pots that have no "useful life” so that they last well beyond ten years.

The insurer apparently gives no value for this skill and time. Wecan't repair pots that are lost in the ocean
because we aren't permitted to recover them, since the area is closed.

Now the insurer will probably say that we didn't have new pots

in the first place, so giving us new pots now puts us in a "better"

position that we were in before the spill. To that we say the

following: Which is fair’? Making an injured party pay to put

himself in the actual position he was in before he was injured, or

making the responsible party pay a little more so that the injured party is in the actual position he was in
before the injury occurred?

In addition to not being fully compensated for actual losses, the insurer's efforts to make interim payments
for lost income,1/creates a more serious problem. Most of the claimants in our group have been completely
out of work since January 19, 1996. The insurer has

offered to pay some lost profits based on a calculation it developed.

But to take this money, we must sign a release that could jeopardize

our future claims. What's more, a provision of OPA could result in

our being denied the right to recover for future losses, even if a

release tries to preserve those rights.

Specifically, section 1015 of OPA provides:

Any person, including the Fund, who pays compensation pursuant to this chapter to any claimant for removal
costs or damages shall be subrogated to all rights, claims and causes of action that the claimant has under any
other law.

33 US.C. 2715.

For example, if I as a claimant accept an Interim payment from the insurer under this law, this provision
could be construed to

require that I give the insurer all my rights to claim damages under any other law, even if I was not yet
compensated for all my losses. That could mean that once I accept money from the insurer, I mightlose my
rights under state law to sue the insurer if ] am unhappy with the payment I received under OPA, even
though OPA would otherwise protect my ability to pursue such a claim.

We don't think this section was intended to create a mandatory

subrogation of rights by virtue of the words "shall be subrogated."

We don't think this section was intended to require subrogation of all

rights under all other laws except OPA, regardless of whether compensation was paid for the loss of that right.

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We think it was

intended to make sure that only rights to claims that have been

compensated are subrogated to whoever pays. That is fair, and that

makes sense. But the language of the statute is less than artfully

drafted. |

That leaves our members with three choices. First, we can take

an interim payment without any protection from this section of thelaw, and hope that the insurer, who says
"trust me, that is not what the section means," keeps its word and does not try to bar a future claim. And we
have to hope that the Coast Guard, which administers

the OPA Trust Fund when the insurer stops paying, agrees to do the

same.

Second, we can delay filing claims for interim payments now, and instead wait until we know whether long
term claims exist, and file all claims at one time. The problem is, many lobstermen cannot afford to wait.
Third, we can insist on written assurances from the Coast Guard

and the insurer that they would never assert this subrogation provision as a defense to an uncompensated
claim.We chose the third route, but getting those written assurances was not easy. The Coast Guard, after a
number of meetings. recently

agreed in writing that it would not raise the subrogation as a defense

except as to rights for which compensation is actually paid

(Attachment D). The insurer says it will agree to language that

recognizes that this section is not a bar to a future uncompensated claim.-2/

To prevent this from happening in the future, Congress should

simply add a phrase to section 1015 of the law, so that the section

reads as follows:

Any person, including the Fund, who pays compensation pursuant to this chapter to any claimant for removal
costs or damages shall be subrogated to all rights, claims and causes of

action that the claimant has under any other law, with respect to which compensation has been paid 3/
Access to Information in File Claims

In times like these, the federal government needs to partner with the RILA and help rebuild what was
destroyed. We are talking about hundreds of Rhode Island families being dramatically affected not over just
the past two months, but well into the future. Lobstermen and their families are not looking for handouts. We
are look for what is provided to us under the law of this country. We are reaching out to our government to
work with us and not shy away from a very traumatic event.

As the Committee knows, thankfully there have been only three major spills since OPA was enacted - one in
Tampa Bay, one in San

Juan, and the one in Rhode Island. Because of where the North

Cape spill occurred, it is likely to have the most devastating impact on natural resources and the economic
well being of the area.

As we understand it, although many small claims were

processed immediately in Tampa Bay and San Juan, there were, and

may still be, delays in determining claims for lost profits and

impairment of income.

To help our members understand what is expected when these claims are filed, and what kind of
documentation is needed -

particularly for impairment of income claims - we wanted to review

past claims under OPA. Of course, the msurer does not make these

available at all.

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Our counsel filed a Freedom of Information Act request with the

Coast Guard to review their claims files. Again, the purpose was to have a full understanding of exactly what
type of information is

provided, and what will be accepted as sufficient.

The Coast Guard, citing privacy concerns of claimants in other

spills, has effectively denied our request, except for producing a

single claim that it chose as "representative." It gave us only its final

decision, and declined to provide any of the foot thick stack of information that apparently led up to its
decision, again claiming that

to do so would be too burdensome for it, since it would have to

redact confidential information. We did not seek any confidential

information.

It also told us that if we wanted this information, we would have

to pay thousands of dollars, and wait several months while itreviewed the information. Apparently there is not
a single claims file anywhere that it would not take months and thousands of our dollars to screen and provide
to us. Again, we are not seeking any private or confidential information, just data that will give us insight into
how

the Coast Guard evaluates these claims, and how it reacts to

information provided it.4/

Withholding important information from claimants benefits the Coast Guard, and the insurer, and again
undermines the ability of

claimants to obtain a full recovery. So the Coast Guard won't give us

important information without us paying for it, and no doubt will

suggest that if we do pay it to give us this information, that payment

will not be considered by it to be "reasonable costs incurred by the

claimant in assessing the damages," within the meaning of its regulations. The result: the Trust Fund -
administered by the Coast Guard- is faced with lower claims.

To our knowledge, no claimant has ever recovered lost future profits or impairment of income under OPA,
even though section 1002(2)(E) of OPA clearly authorizes such recoveries. Withholding this information
from claimants will only serve to perpetuate that denial, except for those claimants willing to hire - and pay
for experts to fight for them.

Participating in the Natural Resource Damage Assessment Process

In January of this year, just weeks before the spill, final regulations governing Natural Resource Damage
Assessments (NRDA) were promulgated. See 61 Fed. Reg. 4 (Friday, January 5, 1996)(to be codified at 15
C.F.R. 990). They were to becomeeffective on February 5, 1996, after the spill occurred. ft is our
understanding that the Federal Government contends that these

regulations will govern NRDA process arising from this spill.

Under OPA, the public is given the opportunity to comment on

plans developed for NRDA process. Under the regulations, a similar

opportunity for consultation exists.

Our concern is a practical one. If there is a long term adverse

impact on the lobster population, it could translate directly into an

economic impact on the lobster industry. The natural resource

damage assessment process will inevitably include studies that should

demonstrate the extent of that impact. The methodology used for these studies will significantly influence the
results, and it is crucially important that sound science be used.The long-term impact of this spill could mean

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the loss of scores of jobs and millions of dollars to the local and statewide economy. Job loss in this area
could be permanent and that would be devastating to Rhode Island.

We have retained an expert, and have requested the opportunity to participate in the development of the plans
that will form the

foundation for the NRDA process.

both the federal and state trustees.

We have made this request to

So far we have not been permitted

to participate in this process (it is claimed that the process has not yet started), but everyone is "thinking"
about it.

We have contacted some of the scientists at the University of Rhode Island who are supposed to conduct
surveys, but so far none of these surveys have been shared with us. The point is, while the law currently calls
for notice and opportunity to comment on NRDAplans, and the regulations do so as well, that opportunity
must come at a meaningful time - before the plans are selected. In fact, to be

meaningful, we should be permitted to attend all the meetings that are held about that planning process, to
provide input and insights that

might not otherwise be appreciated or known. Quite frankly, we

think we are being stonewalled by the trustees who do not want to be

"burdened" with claimants’ concerns,

The trustees have many interests that will or could influence the

NRDA planning process.

interest is sound science.

We want to make sure that the paramount

Taking the federal trustees’ word for it,

"Trust us, we're the government," is not something that our members

are comfortable doing, particularly when the Federal Trust Fund pays

if lost income claims based on the NRDA process are filed.It would be expensive, unfair, unnecessary, and
perhaps impossible to expect our members to conduct their own surveys and planning when a perfect
opportunity exists for them to be involved in this process. We hope the Committee will not let this slip by.
The Coast Guard is Creating Road Blocks to Claimants’ Ability to be Fully Compensated by Trying to Deny
Them Costs Necessary to Prove Their Claim

- You have asked us to comment on how certain policy issues

relating to compensation for losses are addressed under OPA. One such issue is whether OPA should give
everyone the ability to recover the costs of proving a claim for damages so that they are made whole.
Unfortunately, the Coast Guard seems to think that everyone except the claimants should recover these costs.
This makes no sense.

OPA does not prohibit the payment of the claimant's costs of determining damages. The state and federal
government can recoverthese costs, including attorneys! fees. The responsible party gets them because its
insurers’ pays. And as explained below, the only way claimants can be assured that they at least have a
fighting chance to be fully compensated, is if they hire competent experts to help them prepare and pursue
their claim. Yet the Coast Guard and insurer apparently do not want to pay these costs,

We believe the law clearly does not prohibit, and indeed

permits, the payment of claimants' costs and fees needed to prove

their claim for claimants. However, the Coast Guard in its

regulations may be arbitrarily and illegally trying to exclude these

costs and fees from the kinds of damages that a claimant may recover in connection with preparing a claim.5/
In order to avoid the fight that we are likely to have, OPA should be amended, or the Coast

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Guard regulations corrected to address this inequity.

The fact is, if those sections of the Act authorizing claims for impairment of income and lost profits are to
have any real meaning, that claimants must be permitted, and indeed encouraged, to get expert help to ensure
that they receive what they are entitled to by law. They are entitled to be and on an level playing field with
the insurer and the Coast Guard, both of which have boatloads of lawyers and experts. And the responsible
party's insurer, or the Trust Fund, should pay for it.

There are several reasons why these costs should be covered as damages. First, claims for lost future income
require some consideration of long term effects on the lobster population. No single lobsterman can afford to
undertake such studies, and the insurer knows it. But without that backup, claims for lost income would be
difficult to prove. Instead, the claimants must band together, and counsel and experts helps this happen. The
governmenthas attorneys and other experts develop its claims for natural resource

damages, and those costs are paid by the insurer. Why shouldn't a small business person have the same benefit
for its claims?

Second, proving lost profits, and particularly proving impairment of future income, can be complicated. By
way of example, we reviewed one lost profit claim processed by the Coast Guard in another spill. The Coast
Guard tells us that there is over a foot of documentation to support a claim for about $40,000. If this section
of the law is to have any meaning, a claimant must be encouraged to hire competent experts to help him
navigate through this morass and properly prepare a claim.

Third, while the law suggests that claims are to be processed within 90 days by the insurer, and within 6
months by the Coast Guard, that time period can be delayed indefinitely by insurance andCoast Guard lawyers
who will say that the time period does not run

until the claim is fully documented. We think that is exactly what has

happened in other spills. Claimants need help to fight such abuses.

Finally, claimants must be advised of how this law works, so

they do not unwittingly waive their rights. Few know that if you file

a suit in court, you cannot pursue a claim with the Fund. More

importantly, it was through counsel that our members were able to get written confirmation that they won't be
waiving our rights if they

accept interim payments. Until we hired counsel, no one advised us of the consequences of these releases.
While promises were made, no

one would put it in writing.

Notwithstanding the policy reasons supporting the payment of

claimants' costs of proving his damages, and the fact that law does not prohibit it, the Coast Guard regulations
governing the claimsprocess try to severely limit recovery of such costs. The regulations

provide:

(e)ach claim must include at least the following, as applicable: . . . (8) The reasonable costs incurred by the
claimant in assessing the damages claimed. This includes the reasonable costs of estimating the damages
claimed, but not attorney's fees or other administrative costs associated with preparation of the claim.

33 C.F.R. 136.105(e).-6/

There is no explanation for allowing one kind of cost, but not

another, and no justification either, except the desire to discourage

use of experts to document a claim. It is ironic that the Coast Guard

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It is particularly disconcerting that these regulations are so vague

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Of course if and when an injured party seeks to challenge these regulations,the Coast Guard will no doubt say
that such challenges are barred by section 1017 of OPA, which states that regulations must be challenged
within 90 days of promulgation. Of course, until a spill occurs, no claimant would have a reason to challenge
the regulations.appears to take this position that its own costs and attorneys’ fees are

recoverable, as are those of every other state and federal agency

"damaged" as a result of the spill. See 61 Fed. Reg. 4 (Friday. January 5, 1996) (to be codified at 15 C.FR.
990).7-/And the responsible party's costs are paid for by the insurer.

Without qualified experts studying the long-term effects of a

spill, any claim might well be reduced below its true value. Not

surprisingly, insurers who want to limit their payouts for claims in

order to preserve their profits, and the Coast Guard, which wants to

preserve the Trust Fund for future claims, have no problem with this,

In sum, while we believe law and policy clearly support the

payment of costs needed to prove a claim, and the insurer and Coast

Guard have the ability to make such payments, we frankly expect both it and the Coast Guard to fight us as
part of their broader

strategy to limit claims in general.

Conclusion

In summary, we offer the following observations about the OPA

claims process.

(1) OPA is being used by insurer to pay off claims at minimal rates and to effectively discourage claimants
from seeking legitimate long term claims for damages.

(2) The insurer, under the guise of OPA, is demanding inappropriate releases from claimants, does not
explain what is being demanded, and instead waves a few dollars in front of people to force them to agree to
limitations.on their rights.

(3) Claimants are not being allowed meaningful participation in the Natural Resource Damage Assessment
process.(4) It appears that the barge owner's insurer and the Coast Guard are setting up road blocks that
prevent claimants from obtaining full recovery for their losses.

We appreciate and thank you for the opportunity to testify

before the Committee, and stand ready to answer any questions that

you might have.

1/For example, lost profits from January 19 through today.

2/ See Attachment E. Curiously, the insurer seems to have agreed to this language, but claims it does not
understand it.

3/

Other related and proposed changes are included as Attachment

4/ There are a variety of theories and approaches that may be used to determine lost future profits and
impairment of income. The OPA is silent regarding which may apply. Reviewing state common law with
respect to those possible theories is helpful, but claimants can hardly be expected to do so without the benefit
of counsel, a benefit that the Coast Guard apparently wants to deny.

5_/ The insurer, who is plainly not bound by this arbitrary position of the Coast Guard, is free to pay costs as
well.

6/

regarding the kinds of costs of assessment of damages that are recoverable. They say costs are recoverable,
but don't say what those costs are. This leaves a claimant in an untenable situation. I hire an expert? An
accountant? An attorney

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7-/ In the single reported decision under OPA, a court allowed the Coast Guard and even private claimants to
recover attorneys fees associated with removal costs, but with respect to damages, did not allow attorneys'
fees to be recovered. This distinction, applicable to claimants but not to federal or state agencies, or to the
insurer for that matter, is of questionable legal soundness. Avitts v. Amoco Production Co., 840 F.Supp. 1116,
1118 (S.D. Tex. 1994).

END

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